

Matter of Notebaert (2024 NY Slip Op 00589)





Matter of Notebaert


2024 NY Slip Op 00589


Decided on February 2, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 2, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CURRAN, BANNISTER, MONTOUR, AND GREENWOOD, JJ. (Filed Jan. 31, 2024.)


&amp;em;

[*1]MATTER OF RICHARD JOSEPH NOTEBAERT, JR., AN ATTORNEY, RESIGNOR.



MEMORANDUM AND ORDER
Application to resign for non-disciplinary reasons accepted and name removed from roll of attorneys.








